       Case 1:16-cv-00878-JB-JHR Document 89 Filed 09/13/18 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW MEXICO

NEW MEXICO HEALTH                   )
CONNECTIONS,                        )
                                    )
        Plaintiff,                  )
                                    )
        v.                          )               No. 1:16-cv-00878 JB/JHR
                                    )
UNITED STATES DEPARTMENT OF         )
HEALTH AND HUMAN SERVICES,          )
et al.,                             )
                                    )
        Defendants.                 )
____________________________________)

                          DEFENDANTS’ RESPONSE TO
               PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants respectfully respond to the Plaintiff’s Notice of Supplemental Authority, ECF

No. 88 (“Pl.’s Notice”), appending the decision of the Court of Federal Claims in Montana Health

Co-Op v. United States, which concerned cost-sharing reduction payments under the ACA.

       Just as it did in filing as supplemental authority the Federal Circuit’s decision in Moda

Health Plan v. United States regarding the risk corridors program, ECF No. 74, Plaintiff has again

submitted a decision largely irrelevant to the appropriations law arguments advanced in

Defendants’ Rule 59(e) motion. See Defs.’ Response, ECF No. 75. Just like the Moda Health

decision, Montana Health concluded that Congress, in certain circumstances, can create a legally-

enforceable payment obligation absent an appropriation. Pl.’s Notice, Ex. A at *14, *20 (holding

that “statutory language” in the ACA created an obligation to make payments that was not

overcome by the lack of an appropriation). Indeed, the quotes that Plaintiff extracts from the

decision are clear that the court’s reasoning relied on the existence of a statutory obligation to
        Case 1:16-cv-00878-JB-JHR Document 89 Filed 09/13/18 Page 2 of 3




make payments. Pl.’s Notice at 1–2 (discussing the significance of a lack of appropriations when

a “statutory obligation” exists and when a “[statutory payment] obligation” is at issue) (alteration

in original). That reasoning has no bearing on this case because there is no dispute that the statute

creating the risk adjustment program does not dictate a formula for mandatory payments. See 42

U.S.C. § 18063(b). Montana Health simply has nothing to say about whether agency officials can

make or authorize a legally-enforceable obligation in the absence of an appropriation. Montana

Health accordingly does nothing to blunt the impact of the binding principles of appropriations

law described in Defendants’ Rule 59(e) motion, which demonstrate that Defendants had no option

but to craft the risk adjustment methodology to be budget neutral in the absence of an appropriation

beyond risk adjustment collections.

Dated: September 13, 2018                     Respectfully submitted,

                                              JOSEPH H. HUNT
                                              Assistant Attorney General

                                              DIANE KELLEHER
                                              Assistant Branch Director

                                              /s/ James Powers
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                                                 2
       Case 1:16-cv-00878-JB-JHR Document 89 Filed 09/13/18 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2018, I caused the foregoing document to be
served on counsel for plaintiff by filing with the court’s electronic case filing system.



                                                          /s/ James Powers
                                                          James R. Powers
